Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 1 of 26 PageID #: 1




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
   MICHELLE TENZER-FUCHS, on behalf of                                    :
   herself and all others similarly situated,                             :
                                                                          :   No.: ___________________
                                  Plaintiff,                              :
                                                                          :   CLASS ACTION COMPLAINT
                                            v.                            :
                                                                          :    JURY TRIAL DEMANDED
   HARRY’S, INC.,                                                         :
                                                                          :
                                 Defendant.                               :
                                                                          :
                                                                          :
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x



                                                   INTRODUCTION
   1.        Plaintiff MICHELLE TENZER-FUCHS (hereinafter “Plaintiff”), on behalf of

             herself and others similarly situated, brings this civil rights action against

             HARRY’S, INC., (hereinafter “Defendant”) for its failure to design, construct,

             maintain, and operate its website to be fully accessible to and independently usable

             by Plaintiff and other blind or visually-impaired people.

   2.        Plaintiff is a visually-impaired and legally blind person who suffers from what

             constitutes a “qualified disability” under the Americans with Disabilities Act of

             1990 (“ADA”) and thus requires screen-reading software to read website content

             using her computer. Plaintiff uses the terms “blind” or “visually-impaired” to refer

             to all people with visual impairments who meet the legal definition of blindness in

             that they have a visual acuity with correction of less than or equal to 20 x 200. Some

             blind people who meet this definition have limited vision while others are

             completely impaired and have no vision.




                                                             -1-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 2 of 26 PageID #: 2




   3.   Defendant’s denial of full and equal access to its website, and therefore denial of

        its goods and services offered thereby, is a violation of Plaintiff’s rights under the

        ADA.

   4.   Because Defendant’s website, www.harrys.com (the “Website” or “Defendant’s

        website”), is not equally accessible to blind and visually-impaired consumers, it

        violates the ADA. Defendant’s website contains various and multiple access

        barriers that make it extremely difficult – if not impossible – for blind and visually-

        impaired consumers to attempt to complete a transaction.

   5.   Plaintiff seeks a permanent injunction to initiate a change in Defendant’s corporate

        policies, practices, and procedures so that Defendant’s website will become and

        remain accessible to blind and visually-impaired consumers.

                              JURISDICTION AND VENUE
   6.   This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

        and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

        U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

   7.   This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

        pendent claims under the New York State Human Rights Law (“NYSHRL”),

        Article 15 of N.Y. Executive Law § 290 et seq., and the New York City Human

        Rights Law (“NYCHRL”), N.Y.C. Admin. Code § 8-101 et seq.

   8.   Venue is proper in this district under 28 U.S.C. §1391(a)(2) because a substantial

        part of the acts and/or omissions giving rise to Plaintiff’s claims occurred in this

        District. Defendant have also been and is continuing to commit the alleged acts

        and/or omissions in this District that caused injury and violated Plaintiff’s rights

        and the rights of other disabled individuals. Courts have repeatedly held that the


                                              -2-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 3 of 26 PageID #: 3




         District in which Plaintiff tried and failed to access the Website is a proper venue

         for a suit such as this one, “although the Website may have been created and

         operated outside of the District, [because] the attempts to access the Website in [this

         District] are part of the sequence of events underlying the claim. Therefore, venue

         is proper in [this District].” Access Now, Inc. v. Otter Products, LLC, 280

         F.Supp.3d 287, 294 (D. Mass. 2017).

   9.    Defendant is also subject to personal jurisdiction in this District. Defendant has

         been and is committing the acts or omissions alleged herein in the Eastern District

         of New York that caused injury and violated rights the ADA, NYSHRL, and the

         NYCHRL prescribes to Plaintiff and to other blind and other visually impaired

         consumers. A substantial part of the acts and omissions giving rise to Plaintiff’s

         claims occurred in this District: on several separate occasions, Plaintiff has been

         denied the full use and enjoyment of the facilities, goods, and services offered to

         the general public on Defendant’s Website here in Nassau County. These access

         barriers that Plaintiff encountered have caused a denial of Plaintiff’s full and equal

         access multiple times in the past, and now deter Plaintiff on a regular basis from

         accessing the Defendant’s Website in the future.

   10.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

         and 2202.

                                           PARTIES
   11.   Plaintiff MICHELLE TENZER-FUCHS, at all relevant times, is and was a resident

         of Nassau County, New York.

   12.   Plaintiff is legally blind, visually-impaired, and handicapped person, making her a

         member of a protected class of individuals under the ADA, under 42 U.S.C. §


                                               -3-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 4 of 26 PageID #: 4




         12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§

         36.101 et seq., the NYSHRL, and the NYCHRL. Plaintiff, MICHELLE TENZER-

         FUCHS, cannot use a computer without the assistance of screen-reading software.

         Plaintiff has been denied the full enjoyment of the facilities, goods, and services

         offered on www.harrys.com as a result of the accessibility barriers that permeate

         the site.

   13.   Defendant is and was at all relevant times a Delaware Corporation doing business

         in New York.

   14.   Defendant owns, manages, controls, and maintains the Website, and its facilities,

         goods, and services offered thereupon, is a public accommodation within the

         definition of Title III of the ADA, 42 U.S.C. § 12181(7).

   15.   A Website is a place of accommodation defined as “places of exhibition and

         entertainment,” “places of recreation,” and “service establishments.” 28 CFR §§

         36.201 (a); 42 U.S.C. § 12181 (7).

                                   NATURE OF ACTION
   16.   The Internet today is a significant source of information, constituting both a portal

         leading to endless discoveries, and a tool that can be actively used for conducting

         business, doing everyday activities such as shopping, learning, banking,

         researching, as well as for accomplishing many other activities pursued by sighted,

         blind, and visually-impaired persons alike.

   17.   Although the Internet has been vital to human life for some time now, it has become

         exponentially more essential with the rise of the COVID-19 pandemic. As this virus

         has swept the globe, it has caused the world to shift to an almost entirely online

         model. It is now essential for restaurants to have a website for customers to place


                                              -4-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 5 of 26 PageID #: 5




         pick-up and delivery orders. Entertainment venues have had to adapt to being able

         to deliver performances to their audiences via their websites or an online streaming

         service. Educational institutions of all levels have had to shift away from classroom

         teaching entirely and replace it with completely virtual instruction, often for the

         first time in their histories. Furthermore, due to store closures and new building

         capacity limitations, a large majority of stores today must now rely on their

         websites to serve as the main point of contact and sale between their business and

         consumers. And in order for blind and visually-impaired individuals to engage in

         all of these newly networked aspects of our world today, they must be able to use

         screen reading software.

   18.   Blind and visually-impaired users of Windows operating system computers and

         devices have several screen-reading software programs available to them. Some of

         these programs are available for purchase and other programs are available without

         the user having to purchase the program separately. Job Access With Speech

         (“JAWS”), and NonVisual Desktop Access (“NVDA”) are among the most

         popular.

   19.   In today’s world, blind and visually-impaired people have the ability to access

         websites using keyboards in conjunction with a software program that either

         vocalizes the visual information found on a computer screen or displays the content

         on a refreshable Braille display. This technology is known as screen-reading

         software. Screen-reading software is currently the only method a blind or visually-

         impaired person may independently access the internet. Unless websites are

         designed to be read by screen-reading software, blind and visually-impaired




                                              -5-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 6 of 26 PageID #: 6




         persons are unable to fully access websites, and the information, products, goods

         and contained thereon.

   20.   For screen-reading software to function, the information on a website must be

         capable of being rendered into text. If the website content is not capable of being

         rendered into text, the blind or visually-impaired user is unable to access the same

         content available to sighted users.

   21.   The international website standards organization, the World Wide Web

         Consortium, known throughout the world as W3C, has published version 2.1 of the

         Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

         established guidelines for making websites accessible to blind and visually-

         impaired people. These guidelines are universally followed by most large business

         entities and government agencies to ensure their websites are accessible.

   22.   Non-compliant websites pose common access barriers to blind and visually-

         impaired persons. Common barriers encountered by blind and visually impaired

         persons include, but are not limited to, the following:

                a.      Alternative text (“alt-text”) or text equivalent for every non-text

                element. Alt-text is an invisible code embedded beneath a graphical image

                on a website. Web accessibility requires that alt-text be coded with each

                picture so that screen-reading software can speak the alt-text where a

                sighted user sees pictures, which includes captcha prompts. Alt-text does

                not change the visual presentation, but instead a text box shows when the

                mouse moves over the picture;

                b.      Videos that do not maintain audio descriptions;




                                               -6-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 7 of 26 PageID #: 7




              c.      Title frames with text are not provided for identification and

              navigation;

              d.      Equivalent text is not provided when using scripts;

              e.      Forms with the same information and functionality available for

              sighted persons are not provided;

              f.      Information about the meaning and structure of content is not

              conveyed by more than the visual presentation of the content;

              g.      Text cannot be resized without assistive technology up to 200%

              without losing content or functionality;

              h.      If the content enforces a time limit, the user is not able to extend,

              adjust or disable it;

              i.      Web pages do not have titles that describe the topic or purpose;

              j.      The purpose of each link cannot be determined from the link text

              alone or from the link text and its programmatically determined link

              context;

              k.      One or more keyboard operable user interfaces lack a mode of

              operation where the keyboard focus indicator is discernible;

              l.      The default human language of each web page cannot be

              programmatically determined;

              m.      Changing the setting of a user interface component automatically

              causes a change of context that the user has not been advised of before using

              the component;

              n.      Labels or instructions are not provided when content requires user




                                            -7-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 8 of 26 PageID #: 8




                input, which include captcha prompts that require the user to verify that she

                or she is not a robot;

                o.      In content implemented by using markup languages, elements do not

                have complete start and end tags, are not nested according to their

                specifications, contain duplicate attributes, and/or are not unique;

                p.      Inaccessible Portable Document Format (PDFs); and,

                q.      The name and role of all User Interface elements cannot be

                programmatically determined; items that can be set by the user cannot be

                programmatically set; and/or notification of changes to these items is not

                available to user agents, including via assistive technology.

                                 STATEMENT OF FACTS
   23.   Defendant is an online shaving product retailer. Defendant manufactures, markets

         and sells shaving equipment and men’s personal care products, which can be

         purchased individually or order via subscription on Defendant’s website,

         www.harrys.com (its “Website”). Defendant owns, operates, manages, and controls

         www.harrys.com, which allows Defendant to sell shaving equipment, razors, and

         other personal care products on state, national and international scale.

   24.   Defendant’s Website is a commercial marketplace. The Website offers features of

         a physical marketplace in that it allows all consumers to browse goods and services,

         provides details about the products, notifies them of special sale or clearance items,

         and completes purchases of products, which Defendant will thereafter ensure the

         delivery of throughout the United States, including in New York State.

   25.   Defendant’s Website is integrated with its retail business operations, serving as its

         gateway. The Website offers products and services for online sale and general


                                              -8-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 9 of 26 PageID #: 9




         delivery to the public. The Website offers features which ought to allow users to

         learn about Defendant’s products and services, browse for items or information,

         access navigation bar descriptions, view prices, savings, coupons, and other sale or

         discount items, and peruse the numerous items offered for sale. The features offered

         by www.harrys.com include products descriptions, information about the company,

         review boards, and purchase portals.

   26.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff

         and other blind or visually-impaired users access to its Website, thereby denying

         the facilities and services that are offered and integrated with its retail operations.

         Due to its failure and refusal to remove access barriers to its Website, Plaintiff and

         visually-impaired persons have been and are still being denied equal access to

         Defendant’s retail operations and the numerous facilities, goods, services, and

         benefits offered to the public through its Website.

   27.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

         without the assistance of screen-reading software. Plaintiff has visited the Website

         on separate occasions using her NVDA screen-reader.

   28.   During Plaintiff’s visits to the Website, www.harrys.com, the last occurring in

         September of 2020, Plaintiff encountered multiple access barriers which effectively

         denied her the full enjoyment of the goods and services of the Website. Plaintiff

         visited Defendant’s Website with an intent to browse and attempt to purchase a

         shaving set for her husband. Despite her efforts, however, Plaintiff was denied a

         shopping experience similar to that of a sighted individual due to the website’s lack




                                               -9-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 10 of 26 PageID #: 10




          of a range of features and accommodations, which effectively barred Plaintiff

          from being able to make her desired purchase.

    29.   Many features on the Website lacks alt. text, which is the invisible code embedded

          beneath a graphical image. As a result, Plaintiff was unable to differentiate what

          products were on the screen due to the failure of the Website to adequately describe

          its content. This was especially problematic on Defendant’s website because to

          Plaintiff, who can barely see the images on the screen, all of the images of

          Defendant’s shaving sets looked to be utterly identical. And with no alt. text

          embedded in the images to describe the sets differences, this led Plaintiff to

          aimlessly attempt to unsuccessfully navigate until her screen reader would read

          something to her in an effort to guide her with browsing and attempting to purchase

          a product on Defendant’s website..

    30.   Additionally, many features on the Website also fail to add a label element or title

          attribute for each field. This is a problem for the visually impaired because the

          screen reader fails to communicate the purpose of the page element. It also leads to

          the user not being able to understand what she or she is expected to insert into the

          subject field. This was an issue on Defendant’s Website particularly in the scent

          and color-selection sections. As a result, Plaintiff and similarly situated visually-

          impaired users of Defendant’s Website are unable to enjoy the privileges and

          benefits of the Website equally to sighted users.

    31.   The Website also contained a host of broken links, which is a hyperlink to a non-

          existent or empty webpage. For the visually impaired this is especially paralyzing

          due to the inability to navigate or otherwise determine where one is on the website




                                               -10-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 11 of 26 PageID #: 11




          once a broken link is encountered. For example, upon coming across a link of

          interest, Plaintiff was redirected to an error page. However, the screen-reader failed

          to communicate that the link was broken. As a result, Plaintiff could not get back

          to her original search.

    32.   Moreover, because www.harrys.com contains numerous navigational buttons

          lacking alt. text, Plaintiff’s screen reader could not help her navigate the pages of

          the site at all, and she quickly found herself hopelessly lost within the site with just

          a few clicks of her mouse.

    33.   Worse still, when Plaintiff finally stumbled on a shaving set she thought her

          husband would like, the “Winston” set, she found that no matter how hard she

          tried, the site would not let her add just that set to her cart and checkout. Every time

          Plaintiff selected the “Add to Cart” button, it appeared that nothing would happen.

          She eventually tried to navigate to the checkout page itself, but she was completely

          unable to figure out how to get to this page because her reader could not locate the

          button that would take her to the checkout screen.

    34.   Plaintiff has made multiple strides and attempts to complete a purchase on

          www.harrys.com, most recently in September of 2020, but was unable to do so

          independently because of the many access barriers on Defendant’s website. These

          access barriers have caused www.harrys.com to be inaccessible to, and not

          independently usable by, blind and visually-impaired persons.

    35.   These access barriers effectively denied Plaintiff the ability to use and enjoy

          Defendant’s website the same way sighted individuals do. The access barriers

          Plaintiff encountered have caused a denial of Plaintiff’s full and equal access in the




                                               -11-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 12 of 26 PageID #: 12




          past, and now deter and bar Plaintiff on a regular basis from returning and accessing

          the Website in the near future to successfully complete a purchase.

    36.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

          customers such as Plaintiff, who need screen-readers, cannot fully and equally use

          or enjoy the facilities, products, and services Defendant offers to the public on its

          Website. The access barriers Plaintiff encountered have caused a denial of

          Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

          basis from visiting the Website, presently and in the future.

    37.   But for the Website’s access barriers, Plaintiff would have returned to and further

          utilized Defendant’s Website.

    38.   If the Website was equally accessible to all, Plaintiff could independently navigate

          the Website and complete a desired transaction as sighted individuals do.

    39.   Through her attempts to use the Website, Plaintiff has actual knowledge of the

          access barriers that make these services inaccessible and independently unusable

          by blind and visually-impaired people.

    40.   Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

          and other visually-impaired consumers with equal access to the Website, Plaintiff

          alleges that Defendant has engaged in acts of intentional discrimination, including

          but not limited to the following policies or practices:

                 a.      Constructing and maintaining a website that is inaccessible to

                 visually-impaired individuals, including Plaintiff;

                 b.      Failure to construct and maintain a website that is sufficiently intuitive




                                               -12-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 13 of 26 PageID #: 13




                  so as to be equally accessible to visually-impaired individuals, including

                  Plaintiff; and,

                  c.       Failing to take actions to correct these access barriers in the face of

                  substantial harm and discrimination to blind and visually-impaired

                  consumers, such as Plaintiff, as a member of a protected class.

    41.   Defendant therefore uses standards, criteria or methods of administration that have the

          effect of discriminating or perpetuating the discrimination of others, as alleged herein.

    42.   The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

          action. In relevant part, the ADA requires:

          In the case of violations of . . . this title, injunctive relief shall include an order to
          alter facilities to make such facilities readily accessible to and usable by individuals
          with disabilities . . . Where appropriate, injunctive relief shall also include requiring
          the . . . modification of a policy . . .

                                                                         42 U.S.C. § 12188(a)(2).

    43.   Because Defendant’s Website has never been equally accessible, and because

          Defendant lacks a corporate policy that is reasonably calculated to cause its Website

          to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

          seeks a permanent injunction requiring:

                  a. that Defendant retain a qualified consultant acceptable to Plaintiff

                       (“Mutually Agreed Upon Consultant”) who shall assist it in improving the

                       accessibility of its Website so the goods and services on them may be

                       equally accessed and enjoyed by individuals with vision related disabilities;

                  b. that Defendant work with the Mutually Agreed Upon Consultant to ensure

                       that all employees involved in website development and content

                       development be given web accessibility training on a periodic basis,



                                                 -13-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 14 of 26 PageID #: 14




                     including onsite training to create accessible content at the design and

                     development stages;

                 c. that Defendant work with the Mutually Agreed Upon Consultant to

                     perform an automated accessibility audit on a periodic basis to evaluate

                     whether Website may be equally accessed and enjoyed by individuals with

                     vision related disabilities on an ongoing basis;

                 d. that Defendant work with the Mutually Agreed Upon Consultant to

                     perform end-user accessibility/usability testing on a periodic basis with

                     said testing to be performed by individuals with various disabilities to

                     evaluate whether Website may be equally accessed and enjoyed by

                     individuals with vision related disabilities on an ongoing basis;

                 e. that Defendant work with the Mutually Agreed Upon Consultant to create

                     an accessibility policy that will be posted on its Website, along with an e-

                     mail address and tollfree phone number to report accessibility-related

                     problems; and

                 f. that Plaintiff, their counsel and its experts monitor Defendant’s Website for

                     up to two years after the Mutually Agreed Upon Consultant validates it is

                     free of accessibility errors/violations to ensure it has adopted and

                     implemented adequate accessibility policies.


    44.   Although Defendant may currently have centralized policies regarding maintaining

          and operating its Website, Defendant lacks a plan and policy reasonably calculated

          to make them fully and equally accessible to, and independently usable by, blind

          and other visually-impaired consumers.




                                               -14-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 15 of 26 PageID #: 15




    45.   Defendant has, upon information and belief, invested substantial amounts of money

          in developing and maintaining its Website and, through the site, has generated

          significant revenue. The invested amounts are far greater than the associated cost

          of making their Website equally accessible to visually-impaired consumers.

    46.   Without injunctive relief, Plaintiff and other visually-impaired consumers will

          continue to be unable to independently use the Website, violating their rights.

                              CLASS ACTION ALLEGATIONS
    47.   Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

          nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

          individuals in the United States who have attempted to access Defendant’s Website

          and as a result have been denied access to the equal enjoyment of goods and services,

          during the relevant statutory period.

    48.   Plaintiff, on behalf of herself and all others similarly situated, seeks certify a New

          York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

          individuals in the City of New York who have attempted to access Defendant’s

          Website and as a result have been denied access to the equal enjoyment of goods and

          services offered, during the relevant statutory period.

    49.   Common questions of law and fact exist amongst Class, including:

                 a.      Whether Defendant’s Website is a “public accommodation” under

                 the ADA;

                 b.      Whether Defendant’s Website is a “place or provider of public

                 accommodation” under the NYSHRL and the NYCHRL;

                 c.      Whether Defendant’s Website denies the full and equal enjoyment




                                              -15-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 16 of 26 PageID #: 16




                 of   its     products,   services,    facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities, violating the ADA; and

                 d.         Whether Defendant’s Website denies the full and equal enjoyment

                 of   its     products,   services,    facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities, violating the NYSHRL

                 and the NYCHRL.

    50.   Plaintiff’s claims are typical of the Class. The Class, similarly, to the Plaintiff, are

          severely visually impaired or otherwise blind, and claim that Defendant has violated

          the ADA, NYSHRL, and the NYCHRL by failing to update or remove access barriers

          on its Website so either can be independently accessible to the Class.

    51.   Plaintiff will fairly and adequately represent and protect the interests of the Class

          Members because Plaintiff has retained and is represented by counsel competent

          and experienced in complex class action litigation, and because Plaintiff has no

          interests antagonistic to the Class Members. Class certification of the claims is

          appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

          to act on grounds generally applicable to the Class, making appropriate both

          declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

    52.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

          fact and legal questions common to Class Members predominate over questions

          affecting only individual Class Members, and because a class action is superior to

          other available methods for the fair and efficient adjudication of this litigation.

    53.   Judicial economy will be served by maintaining this lawsuit as a class action in that

          it is likely to avoid the burden that would be otherwise placed upon the judicial




                                                -16-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 17 of 26 PageID #: 17




          system by the filing of numerous similar suits by people with visual disabilities

          throughout the United States.

                            FIRST CAUSE OF ACTION
                   VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
    54.   Plaintiff, on behalf of herself and the Class Members, repeats and realleges every

          allegation of the preceding paragraphs as if fully set forth herein.

    55.   Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

          No individual shall be discriminated against on the basis of disability in the full and
          equal enjoyment of the goods, services, facilities, privileges, advantages, or
          accommodations of any place of public accommodation by any person who owns,
          leases (or leases to), or operates a place of public accommodation.

                                                                         42 U.S.C. § 12182(a).

    56.   Defendant’s Website is a public accommodation within the definition of Title III of

          the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

          general public, and as such, must be equally accessible to all potential consumers.

    57.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

          deny individuals with disabilities the opportunity to participate in or benefit from

          the products, services, facilities, privileges, advantages, or accommodations of an

          entity. 42 U.S.C. § 12182(b)(1)(A)(i).

    58.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

          deny individuals with disabilities an opportunity to participate in or benefit from

          the products, services, facilities, privileges, advantages, or accommodation, which

          is equal to the opportunities afforded to other individuals. 42 U.S.C. §

          12182(b)(1)(A)(ii).

    59.   Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

          includes, among other things:


                                               -17-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 18 of 26 PageID #: 18




                 [A] failure to make reasonable modifications in policies,
                 practices, or procedures, when such modifications are
                 necessary to afford such goods, services, facilities,
                 privileges, advantages, or accommodations to individuals
                 with disabilities, unless the entity can demonstrate that
                 making such modifications would fundamentally alter the
                 nature of such goods, services, facilities, privileges,
                 advantages or accommodations; and a failure to take such
                 steps as may be necessary to ensure that no individual with
                 a disability is excluded, denied services, segregated or
                 otherwise treated differently than other individuals because
                 of the absence of auxiliary aids and services, unless the
                 entity can demonstrate that taking such steps would
                 fundamentally alter the nature of the good, service, facility,
                 privilege, advantage, or accommodation being offered or
                 would result in an undue burden.

                                                         42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

    60.   The acts alleged herein constitute violations of Title III of the ADA, and the

          regulations promulgated thereunder. Plaintiff, who is a member of a protected class

          of persons under the ADA, has a physical disability that substantially limits the

          major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

          Furthermore, Plaintiff has been denied full and equal access to the Website, has not

          been provided services that are provided to other patrons who are not disabled, and

          has been provided services that are inferior to the services provided to non-disabled

          persons. Defendant has failed to take any prompt and equitable steps to remedy its

          discriminatory conduct. These violations are ongoing.

    61.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

          incorporated therein, Plaintiff, requests relief as set forth below.

                                SECOND CAUSE OF ACTION
                               VIOLATIONS OF THE NYSHRL




                                               -18-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 19 of 26 PageID #: 19




    62.   Plaintiff repeats, realleges and incorporates by reference the allegations contained

          in paragraphs 1 through 72 of this Complaint as though set forth at length herein.

    63.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

          practice for any person, being the owner, lessee, proprietor, manager,

          superintendent, agent, or employee of any place of public accommodation . . .

          because of the . . . disability of any person, directly or indirectly, to refuse,

          withhold from or deny to such person any of the accommodations, advantages,

          facilities or privileges thereof.”.

    64.   The Website www.harrys.com is a sales establishment and public accommodation

          within the definition of N.Y. Exec. Law § 292(9).

    65.   Defendant is subject to the New York Human Rights Law because it owns and

          operates www.harrys.com. Defendant is a person within the meaning of N.Y.

          Exec. Law. § 292(1).

    66.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

          remove access barriers to its site, causing www.harrys.com to be completely

          inaccessible to the blind. This inaccessibility denies blind patrons the full and

          equal access to the facilities, goods and services that Defendant makes available

          to the non-disabled public.

    67.   Specifically, under N.Y. Exec. Law, “unlawful discriminatory practice” includes,

          among other things, “a refusal to make reasonable modifications in policies,

          practices, or procedures, when such modifications are necessary to afford

          facilities, privileges, advantages or accommodations to individuals with

          disabilities, unless such person can demonstrate that making such modifications




                                                -19-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 20 of 26 PageID #: 20




          would fundamentally alter the nature of such facilities, privileges, advantages or

          accommodations.”

    68.   In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

          practice also includes, “a refusal to take such steps as may be necessary to ensure

          that no individual with a disability is excluded or denied services because of the

          absence of auxiliary aids and services, unless such person can demonstrate that

          taking such steps would fundamentally alter the nature of the facility, privilege,

          advantage or accommodation being offered or would result in an undue burden.”

    69.   There are readily available, well-established guidelines on the Internet for making

          websites accessible to the blind and visually-impaired. These guidelines have

          been followed by other business entities in making their website accessible,

          including but not limited to: adding alt-text to graphics and ensuring that all

          functions can be performed by using a keyboard. Incorporating the basic

          components to make their website accessible would neither fundamentally alter

          the nature of Defendant’s business nor result in an undue burden to Defendant.

    70.   Defendant’s actions constitute willful intentional discrimination against the class

          on the basis of a disability in violation of the New York State Human Rights Law,

          N.Y. Exec. Law § 296(2) in that Defendant has:

                 (a) constructed and maintained a website that is inaccessible to blind class
                 members with knowledge of the discrimination; and/or
                 (b) constructed and maintained a website that is sufficiently intuitive
                 and/or obvious that is inaccessible to blind class members; and/or
                 (c) failed to take actions to correct these access barriers in the face of
                 substantial harm and discrimination to blind class members.

    71.   Defendant has failed to take any prompt and equitable steps to remedy its

          discriminatory conduct. These violations are ongoing.



                                              -20-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 21 of 26 PageID #: 21




    72.   As such, Defendant discriminates, and will continue in the future to discriminate

          against Plaintiff and members of the proposed class and subclass on the basis of

          disability in the full and equal enjoyment of the goods, services, facilities,

          privileges, advantages, accommodations and/or opportunities of www.harrys.com

          under N.Y. Exec. Law § 296(2) et seq. and/or its implementing regulations.

    73.   Unless the Court enjoins Defendant from continuing to engage in these unlawful

          practices, Plaintiff and members of the class will continue to suffer irreparable

          harm.

    74.   The actions of Defendant were and are in violation of the NYSHRL and therefore

          Plaintiff invokes his right to injunctive relief to remedy the discrimination.

    75.   Plaintiff is also entitled to compensatory damages, as well as civil penalties and

          fines pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

    76.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

    77.   Pursuant to N.Y. Exec. Law § 297, and the remedies, procedures, and rights set

          forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                               VIOLATIONS OF THE NYCHRL
    78.   Plaintiff, on behalf of herself and the New York City Sub-Class Members, repeats

          and realleges every allegation of the preceding paragraphs as if fully set forth herein.

    79.   N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

          discriminatory practice for any person, being the owner, lessee, proprietor,

          manager, superintendent, agent or employee of any place or provider of public

          accommodation, because of . . . disability . . . directly or indirectly, to refuse,




                                               -21-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 22 of 26 PageID #: 22




          withhold from or deny to such person, any of the accommodations, advantages,

          facilities or privileges thereof.”

    80.   Defendant’s Website is a sales establishment and public accommodations within

          the definition of N.Y.C. Admin. Code § 8-102(9).

    81.   Defendant is subject to NYCHRL because it owns and operates its Website, making

          it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

    82.   Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

          update or remove access barriers to Website, causing its Website and the services

          integrated with such Website to be completely inaccessible to the blind. This

          inaccessibility denies blind patrons full and equal access to the facilities, products,

          and services that Defendant makes available to the non-disabled public.

    83.   Defendant is required to “make reasonable accommodation to the needs of persons

          with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

          from discriminating on the basis of disability shall make reasonable

          accommodation to enable a person with a disability to . . . enjoy the right or rights

          in question provided that the disability is known or should have been known by the

          covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

    84.   Defendant’s actions constitute willful intentional discrimination against the Sub-

          Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

          8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

                  a.      constructed and maintained a website that is inaccessible to blind

                  class members with knowledge of the discrimination; and/or

                  b.      constructed and maintained a website that is sufficiently intuitive




                                               -22-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 23 of 26 PageID #: 23




                 and/or obvious that is inaccessible to blind class members; and/or

                 c.      failed to take actions to correct these access barriers in the face of

                 substantial harm and discrimination to blind class members.

    85.   Defendant has failed to take any prompt and equitable steps to remedy their

          discriminatory conduct. These violations are ongoing.

    86.   As such, Defendant discriminates, and will continue in the future to discriminate

          against Plaintiff and members of the proposed class and subclass on the basis of

          disability in the full and equal enjoyment of the products, services, facilities,

          privileges, advantages, accommodations and/or opportunities of its Website under

          § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

          Defendant from continuing to engage in these unlawful practices, Plaintiff and

          members of the class will continue to suffer irreparable harm.

    87.   Defendant’s actions were and are in violation of the NYCHRL and therefore

          Plaintiff invokes her right to injunctive relief to remedy the discrimination.

    88.   Plaintiff is also entitled to compensatory damages, as well as civil penalties and

          fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense

          as well as punitive damages pursuant to § 8-502.

    89.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

    90.   Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

          procedures, and rights set forth and incorporated therein Plaintiff prays for

          judgment as set forth below.

                                FOURTH CAUSE OF ACTION
                                  DECLARATORY RELIEF




                                               -23-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 24 of 26 PageID #: 24




    91.   Plaintiff, on behalf of herself and the Class and New York City Sub-Classes

          Members, repeats and realleges every allegation of the preceding paragraphs as if

          fully set forth herein.

    92.   An actual controversy has arisen and now exists between the parties in that Plaintiff

          contends, and is informed and believes that Defendant denies, that its Website

          contains access barriers denying blind customers the full and equal access to the

          products, services, and facilities of its Website, which Defendant owns, operations

          and controls, fails to comply with applicable laws including, but not limited to, Title

          III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

          Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq. prohibiting

          discrimination against the blind.

    93.   A judicial declaration is necessary and appropriate at this time in order that each of

          the parties may know their respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF
          WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                  a.      A preliminary and permanent injunction to prohibit Defendant from

                  violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

                  N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

                  b.      A preliminary and permanent injunction requiring Defendant to take

                  all the steps necessary to make its Website into full compliance with the

                  requirements set forth in the ADA, and its implementing regulations, so that

                  the Website is readily accessible to and usable by blind individuals;

                  c.      A declaration that Defendant owns, maintains and/or operates its




                                               -24-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 25 of 26 PageID #: 25




                   Website in a manner that discriminates against the blind and which fails to

                   provide access for persons with disabilities as required by Americans with

                   Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296(2) et

                   seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New

                   York;

                   d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

                   23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                   and her attorneys as Class Counsel;

                   e.      Compensatory damages in an amount to be determined by proof,

                   including all applicable statutory and punitive damages and fines, to

                   Plaintiff and the proposed class and subclasses for violations of their civil

                   rights under New York State and New York City Human Rights Law;

                   f.      Pre- and post-judgment interest;

                   g.      An award of costs and expenses of this action together with

                   reasonable attorneys’ and expert fees; and

                   h.      Such other and further relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY
             Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions
    of fact the Complaint raises.

    Dated:     Forest Hills, New York
               October 8, 2020


                                                   SHALOM LAW, PLLC.

                                                   By: /s/Jonathan Shalom
                                                   Jonathan Shalom, Esq.
                                                   105-13 Metropolitan Avenue
                                                   Forest Hills, New York 11375


                                                -25-
Case 2:20-cv-04850-ENV-AKT Document 1 Filed 10/08/20 Page 26 of 26 PageID #: 26




                                       Tel: (718) 971-9474
                                       Email: Jonathan@ShalomLawNY.com

                                       ATTORNEYS FOR PLAINTIFF




                                     -26-
